                            No. 24-10900
             UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                              X CORP.,
                          Plaintiff-Appellee,
                                     v.
MEDIA MATTERS FOR AMERICA, ERIC HANANOKI, and ANGELO
                     CARUSONE,
                 Defendants-Appellants.

           On Appeal from the United States District Court
                 for the Northern District of Texas
                     (Case No. 4:23-cv-01175-O)

    RECORD EXCERPTS OF DEFENDANTS-APPELLANTS
     MEDIA MATTERS FOR AMERICA, ERIC HANANOKI,
               AND ANGELO CARUSONE

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Tab #                                                                           ROA

 1      Docket Sheet ............................................................... ROA.1

 2      Notice of Appeal ........................................................ ROA.2206

 3      Order Granting Plaintiff’s Motion to Compel
             Production of Donor-Related Documents ......... ROA.2148
                   CERTIFICATE OF SERVICE

     I hereby certify that on December 2, 2024, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of

Appeals for the Fifth Circuit by using the CM/ECF system. I certify that

counsel for Appellants are registered CM/ECF users and that service will

be accomplished by the CM/ECF system.

                                 /s/ Gregg Costa
                                 Gregg Costa
Tab 1
                                                                                      APPEAL,JURY,STAYED
                                    U.S. District Court
                          Northern District of Texas (Fort Worth)
                       CIVIL DOCKET FOR CASE #: 4:23-cv-01175-O

X Corp. v Media Matters for America et al                           Date Filed: 11/20/2023
Assigned to: Judge Reed C. O'Connor                                 Jury Demand: Plaintiff
Demand: $100,000                                                    Nature of Suit: 190 Contract: Other Contract
Case in other court: United States Court of Appeals 5th Circuit,    Jurisdiction: Diversity
                     24-10900
Cause: 28:1332 Diversity-Other Contract
Plaintiff
X Corp                                               represented by John Clay Sullivan
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                            24-10900.6
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V.
Movant

                                                                 24-10900.7
Darlene Cerezo Swaffar                             represented by Darlene Cerezo Swaffar
TERMINATED: 11/30/2023                                            2745 W. Hillsboro Blvd., Suite 1
                                                                  Deerfield Beach, FL 33442
                                                                  PRO SE


Date Filed          #               Docket Text

11/20/2023               1 (p.21)   COMPLAINT WITH JURY DEMAND against All Defendants
                                    filed by X Corp.. (Filing fee $402; Receipt number
                                    ATXNDC-14187784) Clerk to issue summons(es). In each Notice
                                    of Electronic Filing, the judge assignment is indicated, and a link
                                    to the Judges Copy Requirements and Judge Specific
                                    Requirements is provided. The court reminds the filer that any
                                    required copy of this and future documents must be delivered to
                                    the judge, in the manner prescribed, within three business days of
                                    filing. Unless exempted, attorneys who are not admitted to
                                    practice in the Northern District of Texas must seek admission
                                    promptly. Forms, instructions, and exemption information may be
                                    found at www.txnd.uscourts.gov, or by clicking here: Attorney
                                    Information - Bar Membership. If admission requirements are not
                                    satisfied within 21 days, the clerk will notify the presiding judge.
                                    (Sullivan, John) (Entered: 11/20/2023)

11/20/2023               2 (p.36)   ADDITIONAL ATTACHMENTS to 1 (p.21) Complaint (Civil
                                    Case Cover sheet) by Plaintiff X Corp. (Sullivan, John) Modified
                                    document title on 11/21/2023 (bdb). (Entered: 11/20/2023)

11/20/2023               3 (p.38)   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE
                                    STATEMENT by X Corp.. (Clerk QC note: No affiliate entered
                                    in ECF). (Sullivan, John) (Entered: 11/20/2023)

11/20/2023               4 (p.40)   New Case Notes: A filing fee has been paid. File to: Judge
                                    Pittman. Pursuant to Misc. Order 6, Plaintiff is provided the
                                    Notice of Right to Consent to Proceed Before A U.S. Magistrate
                                    Judge. Clerk to provide copy to plaintiff if not received
                                    electronically. Attorneys are further reminded that, if necessary,
                                    they must comply with Local Rule 83.10(a) within 14 days or risk
                                    the possible dismissal of this case without prejudice or without
                                    further notice. (bdb) (Entered: 11/21/2023)

11/21/2023               5 (p.42)   Summons Issued as to Eric Hananoki, Media Matters for
                                    America. (bdb) (Entered: 11/21/2023)

11/28/2023               6 (p.46)   Court Request for Recusal: Judge Mark Pittman recused. Pursuant
                                    to instruction in Special Order 3-249, the Clerk has reassigned the
                                    case to Judge Reed C. O'Connor for all further proceedings.
                                    Future filings should indicate the case number as:
                                    4:23-cv-01175-O. (bcr) (Entered: 11/28/2023)

11/28/2023               7 (p.47)   New Case Notes: A filing fee has been paid. File to: Judge O
                                    Connor. Pursuant to Misc. Order 6, Plaintiff is provided the
                                    Notice of Right to Consent to Proceed Before A U.S. Magistrate
                                    Judge. Clerk to provide copy to plaintiff if not received
                                    electronically. Attorneys are further reminded that, if necessary,


                                                                                                         24-10900.8
                          they must comply with Local Rule 83.10(a) within 14 days or risk
                          the possible dismissal of this case without prejudice or without
                          further notice. (bcr) (Entered: 11/28/2023)

11/29/2023     8 (p.49)   MOTION to Intervene filed by Darlene Cerezo Swaffar.
                          (Attachments: # 1 (p.21) Exhibit(s) Exhibit 1, # 2 (p.36)
                          Exhibit(s) Exhibit 2, # 3 (p.38) Exhibit(s) Exhibit 3, # 4 (p.40)
                          Exhibit(s) Exhibit 4, # 5 (p.42) Exhibit(s) Exhibit 5) (bdb)
                          (Entered: 11/29/2023)

11/30/2023     9 (p.82)   ORDER: It is ORDERED that the Motion to Intervene (ECF No.
                          8 (p.49) ) should be and is hereby DENIED. (Ordered by Judge
                          Reed C. O'Connor on 11/30/2023) (bdb) (Entered: 11/30/2023)

11/30/2023                ***Clerk's Notice of delivery: (see NEF for details) Docket No:9.
                          Thu Nov 30 07:43:51 CST 2023 (crt) (Entered: 11/30/2023)

12/18/2023    10 (p.86)   STIPULATION and [Proposed] Order for the Extension of Time
                          to Respond to Complaint by Eric Hananoki, Media Matters for
                          America. (LeGrand, Andrew) (Entered: 12/18/2023)

12/18/2023    11 (p.89)   ORDER: It is ORDERED that Defendants Media Matters for
                          America and Eric Hananoki SHALL answer, move, or otherwise
                          plead in response to Plaintiff X Corp.'s Complaint (ECF No. 1
                          (p.21) ) in the above-captioned case no later than February 6,
                          2024. (Ordered by Judge Reed C. O'Connor on 12/18/2023) (bdb)
                          (Entered: 12/19/2023)

12/18/2023    12 (p.90)   MEET AND CONFER ORDER REQUIRING SCHEDULING
                          CONFERENCE AND REPORT FOR CONTENTS OF
                          SCHEDULING ORDER: Lead counsel for each party and any
                          unrepresented party shall confer as soon as practicable, but in any
                          event no later than January 5, 2024. The Joint Report shall be
                          filed on or before January 19, 2024. (Ordered by Judge Reed C.
                          O'Connor on 12/18/2023) (bdb) (Entered: 12/19/2023)

01/19/2024    13 (p.99)   Joint STATUS REPORT filed by X Corp.. (Hilton, Christopher)
                          (Entered: 01/19/2024)

01/22/2024   14 (p.108)   SCHEDULING ORDER: Joinder of Parties due by 3/20/2024.
                          Amended Pleadings due by 3/20/2024. Motions due by 8/5/2024.
                          Deadline for mediation is on or before 7/10/2024. Discovery due
                          by 7/29/2024. Pretrial Order due by 12/12/2024. This case is set
                          for trial on this Court's four-week docket beginning January 6,
                          2025. Counsel and the parties shall be ready for trial on two days'
                          notice at any time during this four-week period. (Ordered by
                          Judge Reed C. O'Connor on 1/22/2024) (bdb) (Entered:
                          01/22/2024)

01/26/2024   15 (p.120)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14344535)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Elisabeth C. Frost added to party Eric
                          Hananoki(pty:dft), Attorney Elisabeth C. Frost added to party
                          Media Matters for America(pty:dft) (Frost, Elisabeth) (Entered:

                                                                                              24-10900.9
                          01/26/2024)

01/26/2024   16 (p.127)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14344571)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Aria Branch added to party Eric
                          Hananoki(pty:dft), Attorney Aria Branch added to party Media
                          Matters for America(pty:dft) (Branch, Aria) (Entered:
                          01/26/2024)

01/26/2024   17 (p.133)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14344703)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Jacob D Shelly added to party Eric
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                          Matters for America(pty:dft) (Shelly, Jacob) (Entered:
                          01/26/2024)

01/26/2024   18 (p.139)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14344902)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Christopher D Dodge added to party
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                          (Entered: 01/26/2024)

01/26/2024   19 (p.145)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14345099)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) NY Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Daniela Lorenzo added to party Eric
                          Hananoki(pty:dft), Attorney Daniela Lorenzo added to party
                          Media Matters for America(pty:dft) (Lorenzo, Daniela) (Entered:
                          01/26/2024)

01/26/2024   20 (p.150)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14345163)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Elena Alejandra Rodriguez Armenta
                          added to party Eric Hananoki(pty:dft), Attorney Elena Alejandra
                          Rodriguez Armenta added to party Media Matters for
                          America(pty:dft) (Rodriguez Armenta, Elena) (Entered:
                          01/26/2024)

01/26/2024   21 (p.155)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14345990)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) WA Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Abha Khanna added to party Eric
                          Hananoki(pty:dft), Attorney Abha Khanna added to party Media
                          Matters for America(pty:dft) (Khanna, Abha) (Entered:

                                                                                         24-10900.10
                          01/26/2024)

01/26/2024   22 (p.160)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14346114)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Exhibit(s) DC Certificate of Good Standing, # 2 (p.36)
                          Proposed Order)Attorney Omeed Alerasool added to party Eric
                          Hananoki(pty:dft), Attorney Omeed Alerasool added to party
                          Media Matters for America(pty:dft) (Alerasool, Omeed) (Entered:
                          01/26/2024)

01/31/2024          23    ELECTRONIC ORDER granting 15 (p.120) Application for
                          Admission Pro Hac Vice of Elisabeth C. Frost. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 1/31/2024) (chmb)
                          (Entered: 01/31/2024)

01/31/2024          24    ELECTRONIC ORDER granting 16 (p.127) Application for
                          Admission Pro Hac Vice of Aria C. Branch. Important Reminder:
                          Unless excused for cause, an attorney who is not an ECF user
                          must register within 14 days of the date the attorney appears in a
                          case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                          Reed C. O'Connor on 1/31/2024) (chmb) (Entered: 01/31/2024)

01/31/2024          25    ELECTRONIC ORDER granting 17 (p.133) Application for
                          Admission Pro Hac Vice of Jacob D. Shelly. Important Reminder:
                          Unless excused for cause, an attorney who is not an ECF user
                          must register within 14 days of the date the attorney appears in a
                          case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                          Reed C. O'Connor on 1/31/2024) (chmb) (Entered: 01/31/2024)

01/31/2024          26    ELECTRONIC ORDER granting 18 (p.139) Application for
                          Admission Pro Hac Vice of Christopher D. Dodge. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 1/31/2024) (chmb)
                          (Entered: 01/31/2024)

01/31/2024          27    ELECTRONIC ORDER granting 19 (p.145) Application for
                          Admission Pro Hac Vice of Daniela Lorenzo. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 1/31/2024) (chmb)
                          (Entered: 01/31/2024)

01/31/2024          28    ELECTRONIC ORDER granting 20 (p.150) Application for
                          Admission Pro Hac Vice of Elena Rodriguez Armenta. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 1/31/2024) (chmb)

                                                                                           24-10900.11
                          (Entered: 01/31/2024)

01/31/2024          29    ELECTRONIC ORDER granting 21 (p.155) Application for
                          Admission Pro Hac Vice of Abha Khanna. Important Reminder:
                          Unless excused for cause, an attorney who is not an ECF user
                          must register within 14 days of the date the attorney appears in a
                          case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge
                          Reed C. O'Connor on 1/31/2024) (chmb) (Entered: 01/31/2024)

01/31/2024          30    ELECTRONIC ORDER granting 22 (p.160) Application for
                          Admission Pro Hac Vice of Omeed Alerasool. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 1/31/2024) (chmb)
                          (Entered: 01/31/2024)

02/06/2024   31 (p.166)   MOTION to Dismiss for Lack of Jurisdiction , Improper Venue,
                          and Failure to State a Claim filed by Eric Hananoki, Media
                          Matters for America (Attachments: # 1 (p.21) Proposed Order)
                          (LeGrand, Andrew) (Entered: 02/06/2024)

02/06/2024   32 (p.170)   Brief/Memorandum in Support filed by Eric Hananoki, Media
                          Matters for America re 31 (p.166) MOTION to Dismiss for Lack
                          of Jurisdiction , Improper Venue, and Failure to State a Claim
                          (LeGrand, Andrew) (Entered: 02/06/2024)

02/06/2024   33 (p.203)   Appendix in Support filed by Eric Hananoki, Media Matters for
                          America re 31 (p.166) MOTION to Dismiss for Lack of
                          Jurisdiction , Improper Venue, and Failure to State a Claim, 32
                          (p.170) Brief/Memorandum in Support of Motion (LeGrand,
                          Andrew) (Entered: 02/06/2024)

02/06/2024   34 (p.215)   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE
                          STATEMENT by Eric Hananoki, Media Matters for America.
                          (Clerk QC note: No affiliate entered in ECF). (LeGrand, Andrew)
                          (Entered: 02/06/2024)

02/20/2024   35 (p.218)   MOTION to Stay Discovery Pending Ruling on Defendants'
                          Motion to Dismiss filed by Eric Hananoki, Media Matters for
                          America (Attachments: # 1 (p.21) Proposed Order) (LeGrand,
                          Andrew) (Entered: 02/20/2024)

02/20/2024   36 (p.230)   Appendix in Support filed by Eric Hananoki, Media Matters for
                          America re 35 (p.218) MOTION to Stay Discovery Pending
                          Ruling on Defendants' Motion to Dismiss (LeGrand, Andrew)
                          (Entered: 02/20/2024)

02/27/2024   37 (p.246)   AMENDED COMPLAINT WITH JURY DEMAND First
                          Amended Complaint against All Defendants filed by X Corp..
                          Summons(es) not requested at this time. Unless exempted,
                          attorneys who are not admitted to practice in the Northern District
                          of Texas must seek admission promptly. Forms, instructions, and
                          exemption information may be found at www.txnd.uscourts.gov,
                          or by clicking here: Attorney Information - Bar Membership. If
                          admission requirements are not satisfied within 21 days, the clerk

                                                                                               24-10900.12
                          will notify the presiding judge. (Hilton, Christopher) (Entered:
                          02/27/2024)

02/27/2024   38 (p.273)   RESPONSE filed by X Corp. re: 31 (p.166) MOTION to Dismiss
                          for Lack of Jurisdiction , Improper Venue, and Failure to State a
                          Claim (Hilton, Christopher) (Entered: 02/27/2024)

02/28/2024   39 (p.276)   ORDER: It is ORDERED that Defendants' Motion to Dismiss
                          (ECF No. 31 (p.166) ) should be and is hereby DENIED for
                          mootness. It is further ORDERED that Defendants' Motion to
                          Stay Discovery (ECF No. 35 (p.218) ) should be and is hereby
                          DENIED for mootness. (Ordered by Judge Reed C. O'Connor on
                          2/28/2024) (saw) (Entered: 02/28/2024)

03/08/2024   40 (p.278)   MOTION to Dismiss for Lack of Personal Jurisdiction, Improper
                          Venue, and Failure to State a Claim filed by Angelo Carusone,
                          Eric Hananoki, Media Matters for America (Attachments: # 1
                          (p.21) Proposed Order)Attorney Andrew Patrick LeGrand added
                          to party Angelo Carusone(pty:dft) (LeGrand, Andrew) (Entered:
                          03/08/2024)

03/08/2024   41 (p.282)   Brief/Memorandum in Support filed by Angelo Carusone, Eric
                          Hananoki, Media Matters for America re 40 (p.278) MOTION to
                          Dismiss for Lack of Personal Jurisdiction, Improper Venue, and
                          Failure to State a Claim (LeGrand, Andrew) (Entered:
                          03/08/2024)

03/08/2024   42 (p.316)   Appendix in Support filed by Angelo Carusone, Eric Hananoki,
                          Media Matters for America re 41 (p.282) Brief/Memorandum in
                          Support of Motion, 40 (p.278) MOTION to Dismiss for Lack of
                          Personal Jurisdiction, Improper Venue, and Failure to State a
                          Claim (LeGrand, Andrew) (Entered: 03/08/2024)

03/11/2024   43 (p.332)   MOTION to Stay Discovery Pending Ruling on Defendants'
                          Motion to Dismiss (Renewed) filed by Angelo Carusone, Eric
                          Hananoki, Media Matters for America (Attachments: # 1 (p.21)
                          Proposed Order) (LeGrand, Andrew) (Entered: 03/11/2024)

03/11/2024   44 (p.344)   Appendix in Support filed by Angelo Carusone, Eric Hananoki,
                          Media Matters for America re 43 (p.332) MOTION to Stay
                          Discovery Pending Ruling on Defendants' Motion to Dismiss
                          (Renewed) (LeGrand, Andrew) (Entered: 03/11/2024)

03/29/2024   45 (p.370)   RESPONSE filed by X Corp. re: 40 (p.278) MOTION to Dismiss
                          for Lack of Personal Jurisdiction, Improper Venue, and Failure to
                          State a Claim (Hilton, Christopher) (Entered: 03/29/2024)

04/01/2024   46 (p.404)   RESPONSE filed by X Corp. re: 43 (p.332) MOTION to Stay
                          Discovery Pending Ruling on Defendants' Motion to Dismiss
                          (Renewed) (Attachments: # 1 (p.21) Proposed Order) (Hilton,
                          Christopher) (Entered: 04/01/2024)

04/05/2024   47 (p.418)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing for Attorney Amer S. Ahmed (Filing fee $100; Receipt
                          number ATXNDC-14521115) filed by Angelo Carusone, Eric
                          Hananoki, Media Matters for America (Attachments: # 1 (p.21)

                                                                                             24-10900.13
                          Certificate of Good Standing) (LeGrand, Andrew) (Entered:
                          04/05/2024)

04/08/2024   48 (p.424)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing for Attorney Anne Champion (Filing fee $100; Receipt
                          number ATXNDC-14523092) filed by Angelo Carusone, Eric
                          Hananoki, Media Matters for America (Attachments: # 1 (p.21)
                          Certificate of Good Standing) (LeGrand, Andrew) (Entered:
                          04/08/2024)

04/09/2024          49    ELECTRONIC ORDER granting 47 (p.418) Application for
                          Admission Pro Hac Vice of Amer S. Ahmed. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 4/9/2024) (chmb)
                          (Entered: 04/09/2024)

04/09/2024          50    ELECTRONIC ORDER granting 48 (p.424) Application for
                          Admission Pro Hac Vice of Anne Champion. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 4/9/2024) (chmb)
                          (Entered: 04/09/2024)

04/12/2024   51 (p.430)   REPLY filed by Angelo Carusone, Eric Hananoki, Media Matters
                          for America re: 40 (p.278) MOTION to Dismiss for Lack of
                          Personal Jurisdiction, Improper Venue, and Failure to State a
                          Claim (LeGrand, Andrew) (Entered: 04/12/2024)

04/15/2024   52 (p.446)   REPLY filed by Angelo Carusone, Eric Hananoki, Media Matters
                          for America re: 43 (p.332) MOTION to Stay Discovery Pending
                          Ruling on Defendants' Motion to Dismiss (Renewed) (LeGrand,
                          Andrew) (Entered: 04/15/2024)

04/15/2024   53 (p.458)   Appendix in Support filed by Angelo Carusone, Eric Hananoki,
                          Media Matters for America re 52 (p.446) Reply in Support of
                          Motion to Stay Discovery Pending Ruling on Defendants' Motion
                          to Dismiss (LeGrand, Andrew) (Entered: 04/15/2024)

04/26/2024   54 (p.552)   ORDER denying 43 (p.332) Motion to Stay (Ordered by Judge
                          Reed C. O'Connor on 4/26/2024) (Judge Reed C. O'Connor)
                          (Main Document 54 replaced on 5/1/2024) (bdb). (Entered:
                          04/26/2024)

04/29/2024   55 (p.568)   NOTICE of Attorney Appearance by Alexander Mark Dvorscak
                          on behalf of X Corp.. (Filer confirms contact info in ECF is
                          current.) (Dvorscak, Alexander) (Entered: 04/29/2024)

04/29/2024   56 (p.570)   Application for Admission Pro Hac Vice with Certificate of Good
                          Standing (Filing fee $100; Receipt number ATXNDC-14579174)
                          filed by Eric Hananoki, Media Matters for America (Attachments:
                          # 1 (p.21) Certificate of Good Standing) (Boutrous, Theodore)
                          (Entered: 04/29/2024)


                                                                                           24-10900.14
04/30/2024          57    ELECTRONIC ORDER granting 56 (p.570) Application for
                          Admission Pro Hac Vice of Theodore J Boutrous. Important
                          Reminder: Unless excused for cause, an attorney who is not an
                          ECF user must register within 14 days of the date the attorney
                          appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                          (Ordered by Judge Reed C. O'Connor on 4/30/2024) (chmb)
                          (Entered: 04/30/2024)

04/30/2024   58 (p.576)   NOTICE of Attorney Appearance by Cody C Coll on behalf of X
                          Corp.. (Filer confirms contact info in ECF is current.) (Coll,
                          Cody) (Entered: 04/30/2024)

05/24/2024   59 (p.578)   MOTION to Compel Production of Documents filed by X Corp.
                          (Attachments: # 1 (p.21) Proposed Order) (Hilton, Christopher)
                          (Entered: 05/24/2024)

05/24/2024   60 (p.584)   Brief/Memorandum in Support filed by X Corp. re 59 (p.578)
                          MOTION to Compel Production of Documents (Attachments: # 1
                          (p.21) Exhibit(s) Appendix of Exhibits) (Hilton, Christopher)
                          (Entered: 05/24/2024)

05/25/2024   61 (p.783)   Counsel should evaluate their respective positions related to this
                          discovery dispute in light of Dondi Properties. After doing so,
                          Defendants shall respond to those disputes that remain no later
                          than May 29, 2024. Plaintiff shall reply no later than May 31,
                          2024. ORDER deferring ruling on 59 (p.578) Motion to Compel
                          (Ordered by Judge Reed C. O'Connor on 5/25/2024) (chmb)
                          (Entered: 05/25/2024)

05/29/2024   62 (p.784)   RESPONSE filed by Angelo Carusone, Eric Hananoki, Media
                          Matters for America re: 59 (p.578) MOTION to Compel
                          Production of Documents (Attachments: # 1 (p.21) Declaration of
                          Andrew LeGrand) (LeGrand, Andrew) (Entered: 05/29/2024)

05/29/2024   63 (p.816)   Appendix in Support filed by Angelo Carusone, Eric Hananoki,
                          Media Matters for America re 62 (p.784) Response/Objection to
                          Plaintiffs' Motion to Compel Production of Documents (LeGrand,
                          Andrew) (Entered: 05/29/2024)

05/31/2024   64 (p.962)   REPLY filed by X Corp. re: 59 (p.578) MOTION to Compel
                          Production of Documents (Attachments: # 1 (p.21) Proposed
                          Order) (Hilton, Christopher) (Entered: 05/31/2024)

06/06/2024   65 (p.978)   ORDER: After due consideration the Court finds that the 59
                          (p.578) Motion should be GRANTED in part and DENIED in
                          part. (See Order for specifics.) Responses due by 6/14/2024.
                          (Ordered by Judge Reed C. O'Connor on 6/6/2024) (jnp)
                          (Entered: 06/06/2024)

06/10/2024   66 (p.981)   Joint MOTION to Amend/Correct Scheduling Order filed by X
                          Corp., Media Matters for America, Eric Hananoki, and Angelo
                          Carusone. (Attachments: # 1 (p.21) Proposed Order) (Hilton,
                          Christopher) Modified filers on 6/13/2024 (jnp). (Entered:
                          06/10/2024)

06/12/2024   67 (p.988)

                                                                                               24-10900.15
                           STIPULATION and Order for the Exchange and Production of
                           Electronically Stored Information by X Corp., Media Matters for
                           America, Eric Hananoki, and Angelo Carusone. (Hilton,
                           Christopher) Modified filers on 6/13/2024 (jnp). (Entered:
                           06/12/2024)

06/12/2024   68 (p.1004)   STIPULATION and Order for the Exchange of Privilege Logs by
                           X Corp., Media Matters for America, Eric Hananoki, and Angelo
                           Carusone. (Hilton, Christopher) Modified filers on 6/13/2024
                           (jnp). (Entered: 06/12/2024)

06/13/2024   69 (p.1009)   ORDER: Recognizing the volume and complexity of ongoing
                           document discovery, as well as the anticipated depositions and
                           expert discovery, the Court finds good cause to GRANT in part
                           the 66 (p.981) Motion to the extent possible based on the Court's
                           calendar. However, the Court DENIES the request to extend
                           deadlines in this case, including the trial date, by a full eight
                           months absent a sufficient showing of good cause for such an
                           extension. Accordingly, the Court MODIFIES the schedule in this
                           matter as follows: Discovery due by 12/31/2024. Deadline for
                           mediation is on or before 11/27/2024. Motions due by 12/9/2024.
                           Pretrial Order due by 3/13/2025. Jury Trial set for 4/7/2025.
                           Settlement Conference set for 3/24/2025. (Ordered by Judge Reed
                           C. O'Connor on 6/13/2024) (jnp) (Entered: 06/13/2024)

06/13/2024   70 (p.1011)   STIPULATION on Protective Order by X Corp., Media Matters
                           for America, Eric Hananoki, and Angelo Carusone. (Hilton,
                           Christopher) Modified filers and event to motion on 6/14/2024
                           (jnp). (Entered: 06/13/2024)

06/13/2024   71 (p.1022)   ADDITIONAL ATTACHMENTS to 70 (p.1011) Stipulation by
                           Plaintiff X Corp.. (Hilton, Christopher) (Entered: 06/13/2024)

06/14/2024   72 (p.1024)   ORDER denying 70 (p.1011) : Before the Court is the parties'
                           Stipulation on Protective Order (ECF No. 70 (p.1011) ), filed June
                           13, 2024. Accordingly, the Court DENIES the parties' motion.
                           (Ordered by Judge Reed C. O'Connor on 6/14/2024) (wxc)
                           (Entered: 06/14/2024)

06/17/2024   73 (p.1026)   MOTION to Compel Corrected Certificate of Interested Persons
                           filed by Angelo Carusone, Eric Hananoki, Media Matters for
                           America (Attachments: # 1 (p.21) Proposed Order) (LeGrand,
                           Andrew) (Entered: 06/17/2024)

06/17/2024   74 (p.1030)   Brief/Memorandum in Support filed by Angelo Carusone, Eric
                           Hananoki, Media Matters for America re 73 (p.1026) MOTION to
                           Compel Corrected Certificate of Interested Persons
                           (Attachments: # 1 (p.21) Ex. A, # 2 (p.36) Ex. B, # 3 (p.38) Ex. C,
                           # 4 (p.40) Ex. D, # 5 (p.42) Ex. E, # 6 (p.46) Ex. F, # 7 (p.47) Ex.
                           G, # 8 (p.49) Ex. H, # 9 (p.82) Ex. I, # 10 (p.86) Ex. J, # 11 (p.89)
                           Ex. K, # 12 (p.90) Ex. L, # 13 (p.99) Ex. M, # 14 (p.108) Ex. N, #
                           15 (p.120) Ex. O, # 16 (p.127) Ex. P, # 17 (p.133) Ex. Q, # 18
                           (p.139) Ex. R) (LeGrand, Andrew) (Entered: 06/17/2024)

06/17/2024   75 (p.1248)


                                                                                              24-10900.16
                           Application for Admission Pro Hac Vice with Certificate of Good
                           Standing (Filing fee $100; Receipt number ATXNDC-14701153)
                           filed by Angelo Carusone, Eric Hananoki, Media Matters for
                           America (Attachments: # 1 (p.21) Certificate of Good Standing, #
                           2 (p.36) Proposed Order) (Ward-Packard, Samuel) (Entered:
                           06/17/2024)

06/18/2024           76    ELECTRONIC ORDER granting 75 (p.1248) Application for
                           Admission Pro Hac Vice of Samuel Ward-Packard. Important
                           Reminder: Unless excused for cause, an attorney who is not an
                           ECF user must register within 14 days of the date the attorney
                           appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g).
                           (Ordered by Judge Reed C. O'Connor on 6/18/2024) (chmb)
                           (Entered: 06/18/2024)

06/28/2024   77 (p.1254)   NOTICE of Service of Privilege Log filed by Angelo Carusone,
                           Eric Hananoki, Media Matters for America (LeGrand, Andrew)
                           (Entered: 06/28/2024)

07/08/2024   78 (p.1256)   RESPONSE filed by X Corp. re: 73 (p.1026) MOTION to
                           Compel Corrected Certificate of Interested Persons
                           (Attachments: # 1 (p.21) Exhibit(s)) (Hilton, Christopher)
                           (Entered: 07/08/2024)

07/22/2024   79 (p.1283)   REPLY filed by Angelo Carusone, Eric Hananoki, Media Matters
                           for America re: 73 (p.1026) MOTION to Compel Corrected
                           Certificate of Interested Persons (Attachments: # 1 (p.21)
                           Exhibit(s) Reply Exhibit A, # 2 (p.36) Exhibit(s) Reply Exhibit B,
                           # 3 (p.38) Exhibit(s) Reply Exhibit C) (LeGrand, Andrew)
                           (Entered: 07/22/2024)

08/02/2024   80 (p.1310)   NOTICE of Attorney Appearance by Michael Abrams on behalf
                           of X Corp.. (Filer confirms contact info in ECF is current.)
                           (Abrams, Michael) (Entered: 08/02/2024)

08/16/2024   81 (p.1312)   MEMORANDUM OPINION AND ORDER: The Court DENIES
                           Defendants' Motion to Compel Corrected Certificate of Interested
                           Persons (ECF No. 73 (p.1026) ). Based on the foregoing, Plaintiff
                           SHALL file its motion for attorney's fees. (see order for specifics)
                           (Ordered by Judge Reed C. O'Connor on 8/16/2024) (bdb)
                           (Entered: 08/16/2024)

08/29/2024   82 (p.1320)   ORDER: Because the Court has personal jurisdiction over
                           Defendants, venue is proper, and Plaintiff has properly pled its
                           claims, Defendants' 40 (p.278) Motion to Dismiss is DENIED.
                           (Ordered by Judge Reed C. O'Connor on 8/29/2024) (jnp)
                           (Entered: 08/29/2024)

08/30/2024   83 (p.1336)   MOTION to Compel Production of Donor-Related Documents
                           filed by X Corp (Attachments: # 1 (p.21) Proposed Order)
                           (Hilton, Christopher) (Entered: 08/30/2024)

08/30/2024   84 (p.1340)   Brief/Memorandum in Support filed by X Corp re 83 (p.1336)
                           MOTION to Compel Production of Donor-Related Documents
                           (Hilton, Christopher) (Entered: 08/30/2024)


                                                                                              24-10900.17
08/30/2024   85 (p.1364)   Appendix in Support filed by X Corp re 84 (p.1340)
                           Brief/Memorandum in Support of Motion to Compel Production
                           of Donor-Related Documents (Hilton, Christopher) (Entered:
                           08/30/2024)

08/30/2024   86 (p.1578)   ORDER deferring ruling on 83 (p.1336) Motion to Compel and
                           setting briefing schedule. (Ordered by Judge Reed C. O'Connor
                           on 8/30/2024) (Judge Reed C. O'Connor) (Entered: 08/30/2024)

09/06/2024   87 (p.1579)   RESPONSE filed by Angelo Carusone, Eric Hananoki, Media
                           Matters for America re: 83 (p.1336) MOTION to Compel
                           Production of Donor-Related Documents (Attachments: # 1
                           (p.21) Declaration of Angelo Carusone, # 2 (p.36) Proposed
                           Order) (LeGrand, Andrew) (Entered: 09/06/2024)

09/06/2024   88 (p.1617)   Appendix in Support filed by Angelo Carusone, Eric Hananoki,
                           Media Matters for America re 87 (p.1579) Response/Objection to
                           Plaintiff's Motion to Compel Production of Donor Related
                           Documents (LeGrand, Andrew) (Entered: 09/06/2024)

09/06/2024   89 (p.1685)   ADDITIONAL ATTACHMENTS to 87 (p.1579)
                           Response/Objection by Defendants Angelo Carusone, Eric
                           Hananoki, Media Matters for America. (Attachments: # 1 (p.21)
                           Exhibit(s) A, # 2 (p.36) Exhibit(s) B, # 3 (p.38) Exhibit(s) C
                           (Placeholder for Audio File), # 4 (p.40) Exhibit(s) D (Placeholder
                           for Audio File)) (LeGrand, Andrew) (Entered: 09/06/2024)

09/09/2024   90 (p.1697)   Received USB drive re: 89 (p.1685) Additional Attachments to
                           Main Document filed by Angelo Carusone, Eric Hananoki, Media
                           Matters for America. Item placed in Clerk's office under separate
                           cover. (jnp) (Entered: 09/09/2024)

09/11/2024   91 (p.1702)   REPLY filed by X Corp re: 83 (p.1336) MOTION to Compel
                           Production of Donor-Related Documents (Hilton, Christopher)
                           (Entered: 09/11/2024)

09/12/2024   92 (p.1718)   ANSWER to 37 (p.246) Amended Complaint,, filed by Angelo
                           Carusone, Eric Hananoki, Media Matters for America. Unless
                           exempted, attorneys who are not admitted to practice in the
                           Northern District of Texas must seek admission promptly. Forms,
                           instructions, and exemption information may be found at
                           www.txnd.uscourts.gov, or by clicking here: Attorney
                           Information - Bar Membership. If admission requirements are not
                           satisfied within 21 days, the clerk will notify the presiding judge.
                           Attorneys are further reminded that, if necessary, they must
                           comply with Local Rule 83.10(a) within 14 days or risk the
                           possible dismissal of this case without prejudice or without
                           further notice. (LeGrand, Andrew) (Entered: 09/12/2024)

09/20/2024   93 (p.1737)   MOTION to Certify an Immediate Appeal re 82 (p.1320) Order
                           on Motion to Dismiss, filed by Angelo Carusone, Eric Hananoki,
                           Media Matters for America (Attachments: # 1 (p.21) Ex. A -
                           Hananoki Declaration, # 2 (p.36) Proposed Order) (LeGrand,
                           Andrew) (Entered: 09/20/2024)

09/20/2024   94 (p.1756)

                                                                                              24-10900.18
                            Brief/Memorandum in Support filed by Angelo Carusone, Eric
                            Hananoki, Media Matters for America re 93 (p.1737) MOTION to
                            Certify an Immediate Appeal re 82 (p.1320) Order on Motion to
                            Dismiss, (LeGrand, Andrew) (Entered: 09/20/2024)

09/24/2024    95 (p.1785)   MOTION to Compel Production of Documents Withheld Under
                            Texas Press Shield Law filed by X Corp (Attachments: # 1 (p.21)
                            Proposed Order) (Hilton, Christopher) (Entered: 09/24/2024)

09/24/2024    96 (p.1789)   Brief/Memorandum in Support filed by X Corp re 95 (p.1785)
                            MOTION to Compel Production of Documents Withheld Under
                            Texas Press Shield Law (Hilton, Christopher) (Entered:
                            09/24/2024)

09/24/2024    97 (p.1808)   Appendix in Support filed by X Corp re 96 (p.1789)
                            Brief/Memorandum in Support of Motion to Compel Production
                            of Documents Withheld Under Texas Press Shield Law (Hilton,
                            Christopher) (Entered: 09/24/2024)

09/27/2024    98 (p.2148)   ORDER: Because Defendants have waived their qualified
                            privilege, Plaintiff's 83 (p.1336) Motion to Compel is
                            GRANTED. Irrespective of waiver, Plaintiff overcomes the
                            qualified First Amendment privilege. Accordingly, Defendants
                            SHALL conduct the previously required search for documents
                            responsive to RFPs 17, 18, 21, and 35 and SHALL PROVIDE all
                            documents in its care, custody, or control responsive to RFPs 17,
                            18, 21, and 35 no later than October 7, 2024. (Ordered by Judge
                            Reed C. O'Connor on 9/27/2024) (jnp) (Entered: 09/27/2024)

10/01/2024    99 (p.2170)   Emergency MOTION to Stay re 98 (p.2148) Order on Motion to
                            Compel,, filed by Angelo Carusone, Eric Hananoki, Media
                            Matters for America (Attachments: # 1 (p.21) Proposed Order)
                            (LeGrand, Andrew) (Entered: 10/01/2024)

10/01/2024   100 (p.2174)   Brief/Memorandum in Support filed by Angelo Carusone, Eric
                            Hananoki, Media Matters for America re 99 (p.2170) Emergency
                            MOTION to Stay re 98 (p.2148) Order on Motion to Compel,,
                            (LeGrand, Andrew) (Entered: 10/01/2024)

10/01/2024   101 (p.2206)   NOTICE OF INTERLOCUTORY APPEAL as to 98 (p.2148)
                            Order on Motion to Compel,, to the Fifth Circuit by Angelo
                            Carusone, Eric Hananoki, Media Matters for America. Filing fee
                            $605, receipt number ATXNDC-14957688. T.O. form to
                            appellant electronically at Transcript Order Form or US Mail as
                            appropriate. Copy of NOA to be sent US Mail to parties not
                            electronically noticed. IMPORTANT ACTION REQUIRED:
                            Provide an electronic copy of any exhibit you offered during a
                            hearing or trial that was admitted into evidence to the clerk of the
                            district court within 14 days of the date of this notice. Copies
                            must be transmitted as PDF attachments through ECF by all ECF
                            Users or delivered to the clerk on a CD by all non-ECF Users. See
                            detailed instructions here. (Exception: This requirement does not
                            apply to a pro se prisoner litigant.) Please note that if original
                            exhibits are in your possession, you must maintain them through
                            final disposition of the case. (LeGrand, Andrew) (Entered:

                                                                                              24-10900.19
                            10/01/2024)

10/01/2024   102 (p.2209)   ORDER: Before the Court is Defendants' Motion to Stay Order to
                            Compel (ECF No. 99 (p.2170) ), filed October 1, 2024. To permit
                            the Court to expeditiously resolve this dispute, Plaintiff is directed
                            to respond no later than October 3, 2024, at 5 p.m. CST.
                            Defendants shall reply no later than October 4, 2024, at 5 p.m.
                            (Ordered by Judge Reed C. O'Connor on 10/1/2024) (jnp)
                            (Entered: 10/01/2024)

10/03/2024   103 (p.2210)   USCA Case Number 24-10900 in United States Court of Appeals
                            5th Circuit for 101 (p.2206) Notice of Appeal, filed by Angelo
                            Carusone, Media Matters for America, Eric Hananoki. (tle)
                            (Entered: 10/03/2024)

10/03/2024   104 (p.2214)   NOTICE of Defendants' Filing of Appellate Motion For
                            Administrative Stay and Motion to Stay Pending Appeal filed by
                            Angelo Carusone, Eric Hananoki, Media Matters for America
                            (Attachments: # 1 (p.21) Exhibit A, # 2 (p.36) Exhibit B)
                            (LeGrand, Andrew) (Entered: 10/03/2024)

10/03/2024   105 (p.2261)   RESPONSE filed by X Corp re: 99 (p.2170) Emergency
                            MOTION to Stay re 98 (p.2148) Order on Motion to Compel,,
                            (Hilton, Christopher) (Entered: 10/03/2024)

10/03/2024   106 (p.2280)   ORDER granting in part and denying in part 99 (p.2170) Motion
                            to Stay. See order. (Ordered by Judge Reed C. O'Connor on
                            10/3/2024) (Judge Reed C. O'Connor) (Entered: 10/03/2024)

10/04/2024   107 (p.2281)   REPLY filed by Angelo Carusone, Eric Hananoki, Media Matters
                            for America re: 99 (p.2170) Emergency MOTION to Stay re 98
                            (p.2148) Order on Motion to Compel,, (LeGrand, Andrew)
                            (Entered: 10/04/2024)

10/07/2024   108 (p.2297)   ORDER: The Court DENIES Defendants' Motion to Stay Order
                            to Compel (ECF No. 99 (p.2170) ). The Court, however, stays this
                            case while Defendants seek the emergency relief they have filed
                            to give the Fifth Circuit time to consider the request (Ordered by
                            Judge Reed C. O'Connor on 10/7/2024) (bdb) (Entered:
                            10/07/2024)

10/08/2024   109 (p.2311)   Request for Copy of Docket Sheet by Robert M. Allensworth with
                            deputy clerk response. (Attachments: # 1 (p.21) Additional
                            Page(s) Deputy Clerk's Response) (jnp) (Main Document 109
                            replaced on 10/10/2024) (jnp). (Entered: 10/10/2024)

10/11/2024   110 (p.2315)   RESPONSE filed by X Corp re: 93 (p.1737) MOTION to Certify
                            an Immediate Appeal re 82 (p.1320) Order on Motion to Dismiss,
                            (Hilton, Christopher) (Entered: 10/11/2024)




                                                                                                24-10900.20
Tab 2
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 X CORP.,
                   Plaintiff,

            v.
                                                  Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,
            Defendants.



                                   NOTICE OF APPEAL

       Notice is hereby given that Defendants Media Matters for America, Eric Hananoki, and

Angelo Carusone appeal to the U.S. Court of Appeals for the Fifth Circuit from this Court’s

September 27, 2024 order compelling the production and disclosure of documents Defendants

contend are privileged under the First Amendment, see Doc. 98.

Dated: October 1, 2024.

Respectfully submitted,
/s/ Andrew LeGrand




                                              1

                                                                                     24-10900.2206
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                                           2

                                                                                24-10900.2207
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                                 CERTIFICATE OF SERVICE

       On October 1, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




                                                  3

                                                                                           24-10900.2208
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                           UNITED STATES DISTRICT COURT FOR
                            THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION
    X CORP.,                                    §
                                                §
          Plaintiff,                            §
                                                §
    v.                                          §   Civil Action No. 4:23-cv-01175-O
                                                §
    MEDIA MATTERS FOR AMERICA, et               §
    al.,                                        §
                                                §
          Defendants.                           §



                                            ORDER

         Before the Court are Plaintiff’s Motion to Compel, brief in support, and appendix (ECF

Nos. 83–85); Defendants’ Response, appendix, and additional attachments in opposition (ECF

Nos. 87–89); and Plaintiff’s Reply (ECF No. 91). After reviewing the motion, brief in support,

response, and reply, the Court finds the following Requests for Production (“RFP”) 17, 18, 21, and

35 remain in dispute based on the briefing. For the following reasons, the Court finds that the

Motion should be GRANTED.

    I.   BACKGROUND1

         On November 20, 2023, X Corp. (“Plaintiff” or “X”) brought this action against Media

Matters, Eric Hananoki, and Angelo Carusone (collectively, “Defendants”) for interference with

contract, business disparagement, and interference with prospective economic advantage. Plaintiff

alleges that Defendants knowingly and maliciously fabricated side-by-side images of various

advertisers’ posts on Plaintiff’s social media platform, X, depicted next to neo-Nazi or other



1
 Unless otherwise indicated, the Court’s recitation of the facts is taken from Plaintiff’s Amended
Complaint. See Pl.’s Am. Compl., ECF No. 37.

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                                                                                       24-10900.2148
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extremist content, and portrayed these designed images as if they were what the average user

experiences on X. Plaintiff asserts that Defendants proceeded with this course of action in an effort

to deceptively portray X as a social media platform dominated by neo-Nazism and anti-Semitism,

and thereby alienate major advertisers, publishers, and users from X, intending to harm it.

        The parties previously presented a discovery dispute for resolution. The Court granted in

part and denied in part the issues presented in that discovery dispute.2 At that time, the Court

deferred ruling on requests for production numbers 17, 18, 21, and 35 and the accompanying First

Amendment privilege concerns “until such a protocol is established and responsive documents

have been identified.”3 The Court ordered Defendants to log any responsive documents as

privileged and deliver the privilege log to Plaintiff no later than June 14, 2024.4 Once these steps

were completed, the parties could pursue a motion to compel, if needed. These issues remain in

dispute and are now presented by Plaintiff’s instant motion.

II.    LEGAL STANDARDS

        A. Discovery Objections

        Federal Rule of Civil Procedure 26(b) governs the scope of discovery. The Rule provides

that “parties may obtain discovery regarding any nonprivileged matter that is relevant to any

party’s claim or defense and proportional to the needs of the case.” FED. R. CIV. P. 26(b)(1). A

party must assert privilege explicitly and in detail, avoiding boilerplate privilege assertions. FED.

R. CIV. P. 26(b)(5)(A)(i)–(ii). “[A] privilege log’s description of each document and its contents

must provide sufficient information to permit courts and other parties to ‘test[ ] the merits of’ the




2
  June 6, 2024, Order, ECF No. 65.
3
  Id. at 2.
4
  Id.

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privilege claim.” EEOC v. BDO USA, L.L.P., 876 F.3d 690, 697 (5th Cir. 2017) (alteration in

original) (quoting United States v. El Paso Co., 682 F.2d 530, 541 (5th Cir. 1982)).

       Federal Rule of Civil Procedure 37 controls motions to compel discovery or disclosure. “A

party seeking discovery may move for an order compelling an answer, designation, production, or

inspection.” FED. R. CIV. P. 37. After a party has attempted in good faith to obtain discovery

without court action, Rule 37 allows a motion to compel when a party fails to answer or respond

to a request for production under Rule 34, provided such discovery requests are within the scope

of Rule 26(b). FED. R. CIV. P 37(a)(3). “[A]n evasive or incomplete disclosure, answer, or response

must be treated as a failure to disclose, answer, or respond.” FED. R. CIV. P. 37(a)(4).

       The party resisting discovery must show specifically how each discovery request is not

relevant or otherwise objectionable. McLeod, Alexander, Powel & Apffel, P.C. v. Quarles, 894

F.2d 1482, 1485 (5th Cir. 1990). A response to a Rule 34 request “must either state that inspection

and related activities will be permitted as requested or state with specificity the grounds for

objecting to the request, including the reasons” for each item or category. FED. R. CIV.

P.34(b)(2)(B). The 2015 revision of the Federal Rules precludes the use of boilerplate

objections. See FED. R. CIV. P. 26(b) advisory committee’s notes to 2015 amendment.

       “[A]s a general rule, when a party fails to object timely to interrogatories, production

requests, or other discovery efforts, objections thereto are waived.” In re United States, 864 F.2d

1153, 1156 (5th Cir. 1989). The failure to make an explicit, timely objection based on privilege

waives the objection. 8A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & RICHARD L MARCUS,

FEDERAL PRACTICE AND PROCEDURES § 2213 (3d ed. 2024). “Even where the responding party has

timely served some objections to a Rule 34(a) request, this waiver extends to any grounds not




                                                 3

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stated in a timely objection.” Samsung Elecs. Am., Inc. v. Yang Kun Chung, 321 F.R.D. 250,

283–84 (N.D. Tex. 2017) (citing FED. R. CIV. P. 34(b)(2)(B)).

       When a party withholding documents “fail[s] to provide a privilege log” and “fail[s] to

properly substantiate [its] objections by submitting evidence necessary to sustain its burden of

proof to [its] objections,” privilege is waived. Johnston v. Transocean Offshore Deepwater

Drilling, Inc., No. CV 18-491, 2019 WL 1558040, at *2 (E.D. La. Apr. 10, 2019); see also Rogge

v. Bandera Falls Prop. Owner’s Ass’n, No. SA-07-CA-996-OLG, 2009 WL 10713559, at *3

(W.D. Tex. Aug. 11, 2009) (stating that “[f]ailure to provide a privilege log” supporting

generalized or catch-all privilege objections waives a privilege claim). Waiver is also warranted

when parties disregard a court order. See Janvey v. Alguire, No. 3:09-CV-724-N-BQ, 2018 WL

11362638, at *6 (N.D. Tex. Oct. 17, 2018) (Bryant, M.J.) (observing that a finding of waiver is

especially warranted when a party opposing discovery has acted with “unjustified delay,

inexcusable conduct, or bad faith” (citation and internal quotation marks omitted)). The failure to

maintain an objection throughout the duration of a discovery dispute, including in response to a

motion to compel, may constitute waiver of the argument. E.g., Garcia v. Padilla, No. 2:15-CV-

735-FtM-29CM, 2016 WL 881143, at *3 (M.D. Fla. Mar. 8, 2016); Jackson v. Geometrica, Inc.,

No. 3:04CV640J20HTS, 2006 WL 213860, at *1 (M.D. Fla. Jan. 27, 2006); DIRECTV, Inc. v.

Puccinelli, 224 F.R.D. 677, 681 n.8 (D. Kan. 2004).

       B. First Amendment Privilege

       The First Amendment serves as a brake on governmental power. The First Amendment

reads, “Congress shall make no law respecting an establishment of religion, or prohibiting the free

exercise thereof; or abridging the freedom of speech, or of the press; or the right of the people

peaceably to assemble, and to petition the Government for a redress of grievances.” U.S. CONST.



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amend. I (emphasis added). The “guarantees of free speech and equal protection guard only against

encroachment by the government and ‘erec[t] no shield against merely private conduct.’” Hurley

v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 566 (1995) (alteration in original)

(quoting Shelley v. Kraemer, 334 U.S. 1, 13 (1948)). “[T]here is no ‘state action’ to be found in

the mere filing of a private civil tort action in state court.” Henry v. First Nat. Bank of Clarksdale,

444 F.2d 1300, 1312 (5th Cir. 1971).

       The First Amendment provides a qualified privilege from the disclosure of information

concerning certain activities protected by the First Amendment’s freedom of speech and

association. NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 460 (1958); Ams. for Prosperity

Found. v. Bonta, 594 U.S. 595, 610–11 (2021). Courts examine First Amendment qualified

privilege claims under the “exacting scrutiny” standard, which is “triggered by ‘state action.’”

Bonta, 594 U.S. at 616 (quoting NAACP, 357 U.S. at 460). To determine whether withholding is

appropriate, courts apply a burden-shifting test that “balances the interest in disclosure against the

burden imposed on associational rights.” Young Conservatives of Tex. Found. v. Univ. of N. Tex.,

No. 4:20-CV-973-SDJ, 2022 WL 2901007, at *3 (E.D. Tex. Jan. 11, 2022); see also Perry v.

Schwarzenegger, 591 F.3d 1147, 1160–61 (9th Cir. 2010). Although the Fifth Circuit has not

adopted this specific balancing test employed in other circuits, it has suggested that a balancing

test is appropriate to analyze the qualified privilege. See Hastings v. N. E. Indep. Sch. Dist., 615

F.2d 628, 631–32 (5th Cir. 1980); Whole Woman’s Health v. Smith, 896 F.3d 362, 372–74 (5th

Cir. 2018).

       The first step involves analyzing whether the party opposing discovery has made a prima

facie showing of arguable First Amendment infringement. Perry, 591 F.3d at 1160. This is a light

burden. See Christ Covenant Church v. Town of Sw. Ranches, No. 07-60516-CIV, 2008 WL



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2686860, at *6 (S.D. Fla. June 29, 2008). To make such a showing, the party withholding

documents must demonstrate a reasonable probability that disclosure of the information may

expose its “members to economic reprisal, loss of employment, threat of physical coercion, [or]

other manifestations of public hostility.” Hastings, 615 F.2d at 631 (quoting NAACP, 357 U.S. at

462). The proof may include “specific evidence of past or present harassment of members due to

their associational ties, or of harassment directed against the organization itself.” Buckley v. Valeo,

424 U.S. 1, 74, (1976) (per curiam).

       After the prima facie showing is made, the burden then shifts to the party seeking discovery

to show “an interest in obtaining the disclosures . . . which is sufficient to justify the deterrent

effect which . . . these disclosures may well have.” Hastings, 615 F.2d at 632 (quoting NAACP,

357 U.S. at 463). Ultimately, the Court must balance “the potential chilling effect on associational

rights” against the “significance of the interest in disclosure to determine whether that interest

outweighs the harm.” Young Conservatives of Tex. Found., 2022 WL 2901007, at *3.

III.   ANALYSIS

       A. Defendants Waived their Objection.

       Plaintiff argues that Defendants waived their First Amendment privilege. The Court agrees

that Defendants’ refusal to comply with the Court’s June 6, 2024 Order, failure to produce a

privilege log, and failure to specifically raise their First Amendment privilege in the Second

Amended Responses and Objections—together and on their own—warrant waiver.

       First, and most egregious, Defendants plainly ignored this Court’s Order by refusing to

search for and log documents responsive to RFP Nos. 17, 18, 21, and 35. Defendants do not dispute

the Court ordered them “to log any responsive documents” to RFP Nos. 17, 18, 21, and 35 “as




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privileged and deliver” a privilege log “to Plaintiff no later than June 14, 2024.”5 But Defendants

refused to follow the order.

        Defendants admit that “as of the date of its first privilege log, [Media Matters] had not

identified any donor-related documents that it was withholding based on privilege” and asserted it

was not “separately searching for donor-related documents.”6 Defendants’ admitted refusal to even

search for responsive documents as ordered to do so demonstrates waiver. Defendants cannot

escape the consequence of waiver because of their agreement to produce privilege logs on a rolling

basis. There is no indication Defendants needed extra time to search and log documents beyond

the ordered or agreed upon time. Instead, they have refused to conduct any search. Accordingly,

Defendants’ privilege objection is waived. See Janvey, 2018 WL 11362638, at *6 (Bryant, M.J.)

(observing that a finding of waiver is especially warranted when a party opposing discovery has

acted with “unjustified delay, inexcusable conduct, [or] bad faith” (citation and internal quotation

marks omitted)).

        The Court concludes that Defendants’ refusal to even search for responsive documents

constitutes waiver because their conduct is unwarranted and wholly unjustified. In their briefing,

Defendants do not explain why they refused to search for and log responsive documents they

believe to be privileged. Defendants did not ask for reconsideration of the Court’s Order requiring

them to “log responsive documents” and “deliver” the privilege log to Plaintiff.7 Nor did

Defendants ask for an extension of the deadline to comply with the Court’s Order. Even now,

Defendants do not argue that the act of searching for responsive documents violates their First




5
  June 6, 2024, Order 2, ECF No. 65; Defs.’ Resp. Opp., 4, ECF No. 87.
6
  Defs.’ Resp. Opp., 7 & 7 n.3, ECF No. 87; see also Pl.’s App. 176, 179, ECF No. 85 (email from A.
Khanna dated July 24, 2024, July 30, 2024); Order 2, June 6, 2024, ECF No. 65.
7
  June 6, 2024, Order 2, ECF No. 65.

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Amendment privilege. And no identified case involving First Amendment privilege supports

Defendants’ decision to refuse to search for responsive documents.

          In Whole Woman’s Health v. Smith, a case Defendants rely on for a different proposition,

the Texas Bishops subject to a third-party subpoena maintained their First Amendment objection,

yet still conducted a search for responsive documents. 896 F.3d at 366–67 (5th Cir. 2018). Through

their searches, the Texas Bishops uncovered over 6,000 pages of records and ultimately turned

over 4,321 pages of those records to the plaintiffs. Id. at 366. Unlike the Texas Bishops, Defendants

here refused to conduct an independent search altogether. In fact, Defendants acknowledge in their

email exchange with Plaintiff that they have “refus[ed] to independently search for donor related

documents” and that the parties “agree that that the privileged status of donor-related documents

is ripe for the Court’s resolution.”8 However, privilege does not operate in this manner. A party

cannot “refus[e] to independently search” 9 for responsive documents and still maintain privilege.

Defendants’ disregard for the Court Order undermines this Court’s ability to fully analyze the

disputed documents. Accordingly, the Court finds Defendants have waived this privilege.

          Second, apart from the Court’s order, waiver is warranted because Defendants did not

produce a privilege log adequately describing the documents as required by Rule 26. This failure

constitutes waiver in its own right. When a withholding party “fail[s] to provide a privilege log”

and “fail[s] to properly substantiate [its] objections by submitting evidence necessary to sustain its

burden of proof to [its] objections,” privilege is waived. Johnston, 2019 WL 1558040, at *2. To

preserve a privilege claim, Defendants had to “provide sufficient information to permit courts and

other parties to ‘test[] the merits of’ the privilege claim.” BDO, 876 F.3d at 697 (alteration in




8
    Pl.’s App. 176, ECF No. 87 (email from A. Khanna dated July 30, 2024) (emphasis in original).
9
    Id.

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original) (quoting El Paso Co., 682 F.2d at 541). Here, Defendants did not produce the privilege

log at all, which is insufficient to preserve the privilege.

           A privilege log is more important in the context of the First Amendment privilege since it

is a qualified privilege. The Rule 26 requirement to “describe the nature of the documents,

communications, or tangible things not produced or disclosed” applies to absolute privileges. FED.

R. CIV. P. 26(b); see also FED. R. CIV. P. 26(b) advisory committee’s notes to 1993 amendment

(“To withhold materials without such notice is contrary to the rule . . . and may be viewed as a

waiver of the privilege or protection.”). This requirement is even more critical for a qualified

privilege that requires the Court to balance competing interests.10

           Third and finally, in the operative set of objections—Defendants’ Second Amended

Responses and Objections—Defendants do not assert their First Amendment argument and thus

waive it. Rule 26(b)(5)(A) requires the party claiming a privilege to “(i) expressly make the claim;

and (ii) describe the nature of the documents, communications, or tangible things not produced or

disclosed—and do so in a manner that, without revealing information itself privileged or protected,

will enable other parties to assess the claim.” FED. R. CIV. P. 26(b)(5)(A) (emphases added). When

the withholding party fails to comply with Rule 26(b)(5), the Fifth Circuit has found that all

assertions of privilege or other protections against the requested discovery have been waived. See

United States v. Fluitt, 99 F.4th 753, 763–64 (5th Cir. 2024) (“The magistrate judge did not abuse

her discretion in holding [the] privilege logs failed to adequately substantiate their assertions of

privilege” when the privilege logs did “not provide a description for the documents/emails to

explain why each should be protected from disclosure”) (citation and internal quotation marks

omitted); see also BDO, 876 F.3d at 697 (“Continual failure to adhere to Rule 26’s prescription



10
     Infra Section III.C.

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may result in waiver of the privilege where a court finds that the failure results from unjustified

delay, inexcusable conduct, or bad faith.”).

        Defendants claim their objections “explicitly identified the First Amendment privilege”—

but that is not the case.11 Defendants did not reassert their privilege claim in the Second Amended

Responses and Objections. For example, in response to Plaintiff’s RFP 17, Defendants say:


                OBJECTIONS: Defendants object to this Request as being overly broad,
        not reasonably particularized, unduly burdensome, harassing, and disproportionate
        to the needs of this case, and for seeking documents not relevant to any claim or
        defense asserted in this litigation. For example, this Request seeks a high-volume
        of sensitive financial information “of any kind” that is immaterial or unrelated to
        any of Plaintiff’s tort claims, to any computation of damages, or to any of
        Defendants’ defenses. See, e.g., Hickman v. Taylor, 329 U.S. 495, 507–08, 67 S.
        Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery, like all matters of procedure, has
        ultimate and necessary boundaries. As indicated by Rules 30(b) and (d) and 31(d),
        limitations inevitably arise when it can be shown that the examination is being
        conducted in bad faith or in such a manner as to annoy, embarrass or oppress the
        person subject to the inquiry. And as Rule 26(b) provides, further limitations come
        into existence when the inquiry touches upon the irrelevant or encroaches upon the
        recognized domains of privilege.”). Moreover, disclosure of donor identifying
        information can lead to donors being harassed for and deterred from affiliating with
        organizations they support. Indeed, Elon Musk himself has called Media Matters
        “an evil propaganda machine that can go to hell” and vowed that X “will pursue
        not just the organization but anyone funding that organization. I want to be clear
        about that anyone funding that organization, will be, we will pursue them”.
        Plaintiff’s request for this information is inappropriate and not proportional to the
        needs of this case.”

(footnotes omitted).12 Defendants provided an identical objection to RFP 18.13 Defendants’

objections to RFPs 21 and 35 also lack an explicit First Amendment privilege claim:

               OBJECTIONS: Defendants object to this Request as harassing. See, e.g.,
        Hickman v. Taylor, 329 U.S. 495, 507–08, 67 S. Ct. 385, 392, 91 L. Ed. 451 (1947)
        (“[D]iscovery, like all matters of procedure, has ultimate and necessary boundaries.
        As indicated by Rules 30(b) and (d) and 31(d), limitations inevitably arise when it
        can be shown that the examination is being conducted in bad faith or in such a
        manner as to annoy, embarrass or oppress the person subject to the inquiry. And as

11
   Defs.’ Resp. Opp., 7, ECF No. 87.
12
   Pl.’s App. 201–02, ECF No. 85.
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   Id. at 203–04.

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        Rule 26(b) provides, further limitations come into existence when the inquiry
        touches upon the irrelevant or encroaches upon the recognized domains of
        privilege.”). Disclosure of donor identifying information can lead to donors being
        harassed for and deterred from affiliating with organizations they support. Indeed,
        Elon Musk himself has called Media Matters “an evil propaganda machine that can
        go to hell” and vowed that X “will pursue not just the organization but anyone
        funding that organization. I want to be clear about that anyone funding that
        organization, will be, we will pursue them”. Plaintiff’s request for this information
        is inappropriate and not proportional to the needs of this case.

(footnotes omitted).14

        Critically, Defendants amended their original objections after “conferr[ing] among

counsel” because Plaintiff argued the first set of objections were vague and generalized. 15 Thus,

in responding to the characterization that the objections were “generalized,” Defendants specified

that they are relying on the above-quoted grounds to object.16 But Defendants neither provided the

amended objections as a supplement to the first set of objections nor did they incorporate the

previous objections. Similar to amended complaints, amended objections supersede the first

objection, that is, they became the operative objections. See Stewart v. City of Hous. Police Dep’t,

372 F. App’x 475, 478 (5th Cir. 2010) (“[A]n amended complaint supersedes the original

complaint and renders it of no legal effect unless the amended complaint specifically refers to and

adopts or incorporates by reference the earlier pleading.”) (quoting King v. Dogan, 31 F.3d 344,

346 (5th Cir. 1994).

        Defendants’ failure to reassert the First Amendment privilege is clear when contrasted with

their original objection to RFP 17, which said “Defendants also object to this Request to the extent

it seeks disclosure of sensitive financial and associational information protected by the First

Amendment privilege, the production of which would chill Defendants’ exercise of their First



14
   Id. at 205–06, 129–30.
15
   Id. at 87.
16
   Defs.’ Resp. Opp., 4, ECF No. 87.

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Amendment speech and associational rights.”17 In context, Plaintiff complained that it did not

know what First Amendment theory Defendants relied upon—free-speech, free-press rights of

journalists, or free-association rights of organizations. In response, Defendants amended their

objections to expressly assert the requests were “overly broad, not reasonably particularized,

unduly burdensome, harassing, and disproportionate to the needs of this case.”18 Moreover,

Defendants could not maintain their First Amendment objection in good faith since they refused

to even search for the documents. A party cannot identify and describe a responsive but privilege

document without searching for and obtaining it. As a result, they must rely on their preserved

arguments, which do not involve the First Amendment.

       The Court acknowledges this is a close call because Defendants raised an objection, but it

is not the First Amendment associational privilege claim before the Court today. Instead,

Defendants expressly objected that the RFPs were “overly broad, not reasonably particularized,

unduly burdensome, harassing, and disproportionate to the needs of this case.”19 But insofar as

they are not reasserted or relied upon in Defendants’ response, these objections are “deemed

abandoned.” Garcia, 2016 WL 881143, at *3 (M.D. Fla. Mar. 8, 2016) (“Objections timely

asserted in a party’s initial response to discovery requests but not reasserted or argued in response

to a motion to compel are deemed abandoned.”). Defendants’ response focuses primarily on the

First Amendment, which includes arguments about the potential for harassment and relevance.

These arguments are pertinent to the general harassment objection, which were asserted in the

amended objections.20 The Court considers these objections and, as explained in Section III.C., the



17
   Pl.’s App. 47, ECF No. 85 (emphasis added).
18
   Supra notes 12, 14.
19
   Id.
20
   See Defs.’ Resp. Opp., 14–20, ECF No. 87.


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requested documents are discoverable and the protective order already in place protects

Defendants from public disclosure and harassment. Thus, these objections are overruled.

       Thus, finding waiver of privilege here is especially warranted given that Defendants have

waived any applicable First Amendment privilege on these three independent bases. Accordingly,

Plaintiff’s Motion to Compel on these bases is GRANTED.

       B. The First Amendment Privilege Likely Applies.

       Irrespective of the issue of waiver, Plaintiff argues the First Amendment privilege does not

apply because this case lacks the requisite state action. The First Amendment ordinarily does not

apply in disputes between private parties wholly disconnected from state action. See Manhattan

Cmty. Access Corp. v. Halleck, 587 U.S. 802, 804 (2019) (“The First Amendment constrains

governmental actors.”). Put another way, the First Amendment privilege, from its standard to its

application, hinges on state action. The exacting scrutiny standard requires “a substantial relation

between the disclosure requirement and a sufficiently important governmental interest.” Doe v.

Reed, 561 U.S. 186, 196 (2010) (citation omitted). As the Supreme Court recently reiterated,

“[s]uch scrutiny . . . is appropriate given the ‘deterrent effect on the exercise of First Amendment

rights’ that arises as an ‘inevitable result of the government’s conduct in requiring disclosure.’”

Bonta, 594 U.S. at 607 (quoting Buckley, 424 U.S. at 65) (emphasis added).

       Plaintiff argues any attempt to reclassify the Federal Rules as state action, or courts as state

actors, under the First Amendment is foreclosed by Fifth Circuit precedent rejecting the argument

that court action constitutes state action. See Henry, 444 F.2d at 1312 (5th Cir. 1971) (“[T]here is

no ‘state action’ to be found in the mere filing of a private civil tort action in state court.”). There

is appeal to this contention because from the Supreme Court’s first recognition of the First




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Amendment privilege in NAACP v. Alabama ex rel. Patterson, to its most recent discussion in

Americans for Prosperity Foundation v. Bonta, state action has been clearly present.

       The Supreme Court also recently reiterated, “[i]n such [First Amendment cases], it is ‘the

application of state power which we are asked to scrutinize.’” Nat’l Rifle Ass’n of Am. v. Vullo,

602 U.S. 175, 188 (2024) (quoting NAACP, 357 U.S. at 463). Moreover, to prove a First

Amendment violation, the party must prove that the government, not a private party, suppressed a

First Amendment right. See Murthy v. Missouri, 144 S. Ct. 1972, 1986 (2024) (“[T]he plaintiffs

must show a substantial risk that, in the near future, at least one platform will restrict the speech

of at least one plaintiff in response to the actions of at least one Government defendant.”). This

distinction is important because: “If, for constitutional purposes, every private right were

transformed into governmental action by the mere fact of court enforcement of it, the distinction

between private and governmental action would be obliterated.” Sharp Corp. v. Hisense USA

Corp., 292 F. Supp. 3d 157, 176 (D.D.C. 2017) (quoting Edwards v. Habib, 397 F.2d 687, 691

(D.C. Cir. 1968)).

       These principles appear in the Supreme Court’s consideration of this issue. In NAACP the

state action was clear because the “Attorney General of Alabama brought an equity suit . . . to

enjoin the Association from conducting further activities within, and to oust it from, the State”

after the NAACP failed to comply with Alabama law that required them “to reveal to the State’s

Attorney General the names and addresses of all its Alabama members and agents.” 375 U.S. at

451–52. Similarly, in Bonta, the question before the Supreme Court was the constitutionality of a

California state law that required charitable organizations to “disclose to the [California] Attorney

General’s Office the identities of their major donors.” 594 U.S. at 600–01. In Doe the state action




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was undeniable because the Washington Public Records Act required, upon request, disclosure of

referendum signature information. 561 U.S. at 190–191.

       Defendants counter that case law demonstrates that the First Amendment privilege applies

to discovery disputes between private parties. Citing to the Tenth Circuit in In re Motor Fuel

Temperature Sales Practices Litigation, Defendants argue circuit courts extended the First

Amendment qualified privilege to a discovery dispute involving only private parties. 641 F.3d 470,

481 (10th Cir. 2011). The Tenth Circuit noted “that the First Amendment privilege applies to the

district court’s discovery order” appeared to be an extension of the privilege, writing that “no court

has directly considered its application . . . in a lawsuit between private parties.” Id. It relied on

dicta from a previous Tenth Circuit case which held a district court failed to consider the plaintiff’s

First Amendment qualified privilege in connection with a discovery dispute. See Grandbouche v.

Clancy, 825 F.2d 1463, 1466 (10th Cir. 1987).

       Neither In re Motor Fuel nor Grandbouche explain how the privilege recognized in

NAACP—where there was clear state action—applies when a court refereeing a discovery dispute

between private parties is identified as the state actor. Instead, In re Motor Fuel did not even

conduct the balancing test required in analyzing the associational privilege because the appellant

did not establish its prima facie case. 641 F.3d at 489–92.

       Further, Grandbouche’s reliance on Shelly v. Kraemer—cited as a see also without any

explanation—is wholly unclear as to its application. Id. at 1466 (citing 334 U.S. at 14–15). And

the Tenth Circuit’s reliance on Shelly is questionable since the Supreme Court has warned lower

courts about the dangers of expanding the state-action doctrine. See Manhattan Cmty. Access Corp,

587 U.S. at 818 (“Expanding the state-action doctrine beyond its traditional boundaries would

expand governmental control while restricting individual liberty and private enterprise.”)



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       In Perry, another case cited by Defendants, the plaintiff seeking disclosure was not a state

actor. Even though the court claims “the evidentiary burden shifts to the plaintiffs to demonstrate

a sufficient need for the discovery to counterbalance that infringement,” Perry does not analyze

how the court adjudicating this dispute constitutes state action. 591 F.3d at 1164.

       While it may be because Perry includes the unique circumstance of private individuals

defending the constitutionality of a state ballot amendment, the court never says as much. And

when implementing the balancing test, Perry omitted “government” from the quote “we ‘balance

the burdens imposed on individuals and associations against the significance of the government

interest in disclosure.’” Id. at 1161 (alteration removed) (citing AFL–CIO v. FEC, 333 F.3d 168,

176 (D.C.Cir.2003)). It is unclear therefore on what basis Perry and other cases have applied

NAACP’s clear instruction that it is the “application of state power which [the Court is] asked to

scrutinize” in balancing the parties’ respective interests. NAACP, 357 U.S. at 463.

       To this point, Plaintiff has made an arguable claim that there is no state action in a discovery

dispute between private parties as the cases Defendants rely on fail to squarely address what state

action a court is to balance. But, in Whole Woman’s Health, another case Defendants rely on, the

Fifth Circuit seemingly did, when discussing RFRA’s compelling interest. 896 F.3d at 371. When

the Texas Bishops appealed a third-party subpoena, their grounds included “free exercise, freedom

of speech, freedom of assembly, and freedom of petition guarantees of the First Amendment, that

it violated the Religious Freedom Restoration Act (“RFRA”), and that it was unduly burdensome

under Fed. Rule Civ. Pro. 45(d).” 896 F.3d 366. The circuit discussed the application of the First

Amendment qualified privilege to the discovery dispute between those private parties. While it

ultimately invoked the rule of constitutional avoidance and determined that the dispute could be




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resolved pursuant to the Federal Rules of Civil Procedure, in doing so, it explained the issues

involved in resolving a discovery dispute between private parties impacting constitutional rights.

          On the issue of state action, the court in Whole Woman’s Health wrote that the government

interest includes the litigant’s desire to use the court to obtain the privileged information. Whole

Woman’s Health, 896 F.3d at 371 (“As for the government’s (i.e., the court’s or litigant’s using

the court) compelling need and least restrictive means, they are not satisfied merely because the

Federal     Rules    ordinarily    authorize   broad     discovery.”).   By    way    of   analogy,    if

“government’s . . . compelling need” is “the court’s or litigant’s using the court” under the RFRA

compelling interest analysis, the same ought to be true for the First Amendment associational

privilege analysis. Id.

          The take away in the Fifth Circuit then is that a private party’s invocation of court authority

to obtain information that may be constitutionally protected is the requisite state action. And that

party’s need, or interest, is what the court must balance in evaluating the First Amendment

consideration. Accordingly, the Court rejects Plaintiff’s argument that the First Amendment cannot

apply because there is no state action.

          C. Plaintiff Overcomes any First Amendment Privilege.

          Applying the balancing test for the First Amendment qualified privilege to the facts of this

case shows Plaintiff overcomes the qualified privilege. X has shown “an interest in obtaining the

disclosures . . . which is sufficient to justify the deterrent effect which . . . these disclosures may

well have.” Hastings, 615 F.2d at 632 (alteration in original) (citation omitted).

          The Court first looks at whether Defendants have made a prima facie case of arguable First

Amendment infringement. Perry, 591 F.3d at 1160; Bright Response, LLC, 2009 WL 10741629,

at *1. “Exacting scrutiny is triggered by ‘state action which may have the effect of curtailing the



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freedom to associate,’ and by the ‘possible deterrent effect’ of disclosure.” Bonta, 594 U.S. at 616

(emphasis in original) (quoting NAACP, 357 U.S. at 460–61). Defendants satisfy their burden of

showing the potential for infringement. Defendants provide examples of public hostility directed

at the organization sufficient to shift the burden.21 See Christ Covenant Church, 2008 WL

2686860, at *7 (finding evidence of hostility against plaintiff and its members was sufficient to

make prima facie showing).

          Having established a prima facie showing, the burden then shifts to Plaintiff. Courts have

considered, among other things, the following factors to balance the competing interests: the

importance of the information sought to the issues in the case, the substantiality of the First

Amendment interests at stake, the availability of the information from alternative sources, and

whether the request is carefully tailored to avoid unnecessary interference with protected activities.

Perry, 591 F.3d at 1161.

          Plaintiff requests Media Matters’ donor lists and financial information for the following

reasons: “(1) to see how Defendants have availed themselves of Texas; (2) to see how Defendants

funded their tortious conduct; and (3) to see if they are profiting or seeking to improve their

financial condition from their disparagement.”22 As explained below, Plaintiff’s RFPs sufficiently

overcome any potential “deterrent effect[s]” on Defendants’ associational rights. Hastings, 615

F.2d at 632 (citation omitted).

          Regarding the importance of the information sought to the issues in the case, X has made

a compelling argument that the documents requested sufficiently overcome any associational

burden. Plaintiff requests donor related documents, particularly ones that are demonstrative of

Defendants’ mental state, which is relevant to the essential elements of its claims and to show


21
     Defs.’ Additional Exs., ECF No. 89.
22
     Pl.’s Br. Supp. 14, ECF No. 84.

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punitive damages.23 Requests related to Defendants’ mental state “go[] to the ‘heart of the matter,’”

and Plaintiff is significantly burdened without the documents. Schiller v. City of New York, 2006

WL 3592547, *6 (S.D.N.Y. Dec. 6, 2006) (quoting Anderson v. Hale, No. 00 C 2021, 2001 WL

503045, *4 (N.D. Ill. May 10, 2001)).

           These documents may serve as proof of Defendants mental state, an essential element of

Plaintiff’s claims. To prevail on a tortious interference with contract claim, Plaintiff must prove a

“willful and intentional act of interference with the contract.” Nix v. Major League Baseball, 62

F.4th 920, 934 (5th Cir.) (quoting Prudential Ins. of Am. v. Fin. Rev. Servs., Inc., 29 S.W.3d 74,

77 (Tex. 2000)), cert. denied, 144 S. Ct. 165 (2023). For Plaintiff’s business disparagement claim,

it must prove “false and disparaging information” was published “with malice.” Vendever LLC v.

Intermatic Mfg. Ltd., No. 3:11-CV-201-B, 2011 WL 4346324, at *4 (N.D. Tex. Sept. 16, 2011)

(quoting Forbes v. Granada Biosciences, Inc., 124 S.W.3d 167, 170 (Tex. 2003)). The requests

are therefore important to the essential elements of Plaintiff’s claims.

           Additionally, Plaintiff’s claim for punitive damages would not be better exemplified than

through Defendants’ profiting off the alleged manipulation of X’s social media platform, if they

have done so. In a related context, the Supreme Court in Herbert v. Lando did not recognize an

absolute First Amendment press privilege preventing discovery to determine actual malice. 441

U.S. 153 (1979). Summed up by the Fifth Circuit, the press “had no First Amendment privilege

against discovery of mental processes where the discovery was for the purpose of determining

whether malice existed.” See Miller v. Transamerican Press, Inc., 621 F.2d 721, 725 (5th

Cir.), opinion supplemented on denial of reh’g, 628 F.2d 932 (5th Cir. 1980) (summarizing the




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     Id.

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holding of Herbert). Like in Miller and Herbert, here too “the privilege must yield.” Id. The

requests are important to Plaintiff’s damages case.

          Next, Defendants’ First Amendment interests at stake here are significantly reduced

without the same type of “state action which may have the effect of curtailing the freedom to

associate.” NAACP, 357 U.S. at 460–61; see also Gueye v. Mike Bloomberg 2020 Inc., No. 4:20-

CV-00487-BP, 2021 WL 3910341, at *2 (N.D. Tex. Mar. 12, 2021) (“The facts supporting

Defendant’s request for confidentiality are not as compelling as those at issue in Perry or in the

Fifth Circuit case that cites Perry on the issue of the First Amendment privilege, Whole Woman’s

Health.”). Media Matters is not like the NAACP combatting state-enforced segregation, for whom

“compelled disclosure of . . . membership is likely to affect adversely the ability of [the NAACP]

and its members to pursue their collective effort to foster beliefs which they admittedly have the

right to advocate.” NAACP, 357 U.S. at 462–63. When a party, like Plaintiff, requests documents

to establish jurisdiction, the mens rea, and actual malice from a media organization, Miller and

Herbert are strong indications that any First Amendment interests are reduced.

          Plaintiff contends that the withheld documents may still be indicative of Defendants’

efforts to solicit Texans generally or to support other journalistic endeavors, both of which may

show Defendants purposefully availed themselves of a Texas forum. See Ford Motor Co. v. Mont.

Eighth Jud. Dist. Ct., 592 U.S. 351, 371 (2021) (finding personal jurisdiction where seller

“extensively promoted, sold, and serviced” products in the forum state). Additionally, the

information Plaintiff seeks is not available by means of an alternative source. While the Court has

ruled that personal jurisdiction is proper based on the pleadings, Defendants maintain that personal

jurisdiction and venue are improper.24 Plaintiff continues to carry the burden of showing


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     Defs.’ Answer 16, ECF No. 92; Defs.’ Mot Certify Immediate Appeal and Br. Supp., ECF Nos. 93–94.

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jurisdiction throughout the lawsuit. Plaintiff cannot sufficiently establish the extent of Defendants’

financial contacts with the state and forum without this information. Despite Defendants’ claim

that they did not solicit Texas donors for their “work related to X Corp.,” donor and financial

documents are still relevant and cause a minimal amount of harm to Defendants’ associational

rights.25 Defendants cannot limit the relevance of Plaintiff’s request by carefully wording affidavits

narrower than the documents requested. Moreover, Defendants cannot say with certainty these

documents do not show such purposeful availment given their “refusal to independently search”

for the responsive documents. 26

        Finally, as to the tailoring of the requests, Plaintiff overcomes any final burden on

Defendants’ protected activities. While Plaintiff make a number of requests, the privilege objection

is reduced because of the protective order already in place. The Supreme Court in Bonta explained

that “assurances of confidentiality,” like a protective order, “may reduce the burden of disclosure”

if the procedures established by the parties and enforced by a court order can alleviate the potential

chilling effect on associational rights. 594 U.S. at 616.

        Unlike in Bonta, where the “promise of confidentiality ‘rings hallow,’” the parties’

assurances here are sound. Id. at n.* (quoting Thomas More L. Ctr. v. Harris, No. CV 15-3048-R,

2016 WL 6781090, *5 (C.D. Cal. Nov. 16, 2016)). The parties agreed on and have utilized the

protective order allowing for the classification of documents as “Attorney’s Eyes Only.”27

Defendants do not argue the protective order in place has been violated. Notably, any additional

concerns about specific documents could be addressed by further “seek[ing] a protective order

designating those documents as confidential.” Fla. State Conf. of Branches & Youth Units of



25
   Defs.’ App. Supp. Mot Dismiss Ex. C ⁋ 4, ECF No. 42.
26
   Pl.’s App. 176, ECF No. 85 (email from A. Khanna dated July 30, 2024) (emphasis in original).
27
   Pl.’s Reply 7, ECF No. 91.

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NAACP v. Lee, 568 F. Supp. 3d 1301, 1307 (S.D. Fla. 2021). Additionally, as a safeguard to protect

Defendants’ associational rights, Plaintiff must ask the Court before using any information beyond

the “Attorney’s Eyes Only” designation.

       Insofar as the Court can analyze the factors, albeit handicapped by Defendants’ failure to

search for and log the claimed privileged documents, Plaintiff overcomes the First Amendment

qualified privilege. Thus, Plaintiff has overcome any applicable First Amendment qualified

privilege. Finally, finding that disclosure is warranted given the heightened relevance standard for

overcoming the First Amendment privilege, Defendants’ amended objections are overruled.

IV.   CONCLUSION

       Because Defendants have waived their qualified privilege, Plaintiff’s Motion to Compel is

GRANTED. Irrespective of waiver, Plaintiff overcomes the qualified First Amendment privilege.

Accordingly, Defendants SHALL conduct the previously required search for documents

responsive to RFPs 17, 18, 21, and 35 and SHALL PROVIDE all documents in its care, custody,

or control responsive to RFPs 17, 18, 21, and 35 no later than October 7, 2024.

       SO ORDERED on this 27th day of September, 2024.


                                                     _____________________________________
                                                     Reed O’Connor
                                                     UNITED STATES DISTRICT JUDGE




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